Case 1:22-cr-00176-CJN Document180-4 Filed 05/15/24 Pagelof3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
v. Criminal No. 22-CR-176 (CJN)

STEPHEN JOHNSON,
Defendant,

J.P. MORGAN CHASE BANK, N.A.

Garnishee.

New New Nee” Nene Nee Se” ae” Ne Nee Nee” Ne” eee” Nee”

ANSWER OF THE GARNISHEE

IF GARNISHEE IS AN INDIVIDUAL:
That he/she is the Garnishee herein doing business in the name of

(State full name and address of business)

IF GARNISHEE IS A PARTNERSHIP:

That it is a member of the partnership named as Garnishee.

IF GARNISHEE IS A CORPORATION:

That it is the (state official title) of the Garnishee,

a corporation, organized under the laws of the State of
Case 1:22-cr-00176-CJN Document180-4 Filed 05/15/24 Page2of3

I. On , the Garnishee was served

with The Writ of Continuing Prejudgment Non-Wage Garnishment.

2. Are there any previous garnishments in effect? YES NO

If the answer is yes, describe below.

3. The Garnishee anticipates owing to the prejudgment-Defendant in the future,
the

following amounts:

Amount Estimate date or Period Due
lL §
2. §
3. §$
4. §$

(Check the applicable line below if you deny that you hold property subject to this Order
of

Garnishment.)

4, The Garnishee makes the following claim of exemption on the part of the
Defendant:

5. The Garnishee has the following objections, defenses, or set offs to the United States’
right to apply the Garnishee's indebtedness to Defendant upon the United States’ claim:
6. The Garnishee is in no manner and upon no account indebted or under liability to the

Defendant, Candy Evans, and the Garnishee does not have in his/her possession or control any
Case 1:22-cr-00176-CJN Document 180-4 Filed 05/15/24 Page3of3

property belonging to the Defendant, or in which the Garnishee has an interest, and is in no manner
liable as the Gamishee in this action: == =YES ——=NO

The Garnishce has mailed a copy of this answer by first-class mail to: (1) Clerk, U.S.
District Court for the District of Columbia, 333 Constitution Avenue, N.W., Washington, D.C.
20001; (2) Counsel for the Defendant, Jonathan Jeffress, Esq., KAISER DILLON, PLLC, 1099
14th Street, Suite 800 West, Washington, D.C. 20005, and Tony W. Miles, Esq., KAISER
DILLON, PLLC, 1099 14th Street, Suite 800 West, Washington, D.C. 20005, and upon (3)

Counsel for the United States, Melissa Goforth Koenig and Oliver W. McDaniel, Assistant U.S.

Attorneys, Civil Division, 555 4th Street, N.W., Washington, D.C. 20530.

Garnishee

Printed Name:
Address:
Address:
Address:
Phone No:

